       Case: 3:20-cv-00278-wmc Document #: 22 Filed: 03/29/20 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN

 SYLVIA GEAR, MALEKEH K. HAKAMI,
 PATRICIA GINTER, CLAIRE WHELAN,
 WISCONSIN ALLIANCE FOR RETIRED
 AMERICANS, and LEAGUE OF WOMEN
 VOTERS OF WISCONSIN,                                Case No. 3:20-cv-278-wmc
                             Plaintiffs,
        v.
 DEAN KNUDSON, JULIE M. GLANCEY,
 ROBERT F. SPINDELL, JR., MARK L.
 THOMSEN, ANN S. JACOBS, and MARGE
 BOSTELMANN, in their official capacities as
 Wisconsin Elections Commissioners, and
 MEAGAN WOLFE, in her official capacity as
 Administrator of the Wisconsin Elections
 Commission,
                                       Defendants.


 REVEREND GREG LEWIS, SOULS TO
 THE POLLS, VOCES DE LAW FRONTERA,
 BLACK LEADERS ORGANIZING FOR
 COMMUNITIES, AMERICAN
 FEDERATION OF TEACHERS LOCAL, 212,                  Case No. 3:20-cv-284-wmc
 AFL-CIO, SEIU WISCONSIN STATE
 COUNCIL, and LEAGUE OF WOMEN
 VOTERS OF WISCONSIN,
                               Plaintiffs,

        v.
 DEAN KNUDSON, JULIE M. GLANCEY,
 ROBERT F. SPINDELL, JR., MARK L.
 THOMSEN, ANN S. JACOBS, and MARGE
 BOSTELMANN, in their official capacities as
 Wisconsin Elections Commissioners, and
 MEAGAN WOLFE, in her official capacity as
 Administrator of the Wisconsin Elections
 Commission,
                                       Defendants.


MOTION TO INTERVENE AS DEFENDANTS BY THE REPUBLICAN NATIONAL
      COMMITTEE AND THE REPUBLICAN PARTY OF WISCONSIN
       Movants, the Republican National Committee and the Republican Party of Wisconsin, seek

to intervene as defendants in the above-captioned cases under Rule 24(a)(2) and Rule 24(b). This



                                                 1
       Case: 3:20-cv-00278-wmc Document #: 22 Filed: 03/29/20 Page 2 of 2



Court permitted Movants to intervene in Democratic National Committee v. Bostelmann, No. 3:20-cv-249,

and then consolidated Bostelmann with the above-captioned cases “for all purposes.” Docs. 85, 86,

Bostelmann, No. 3:20-cv-249. To clarify Movants’ party status in all three cases, and for the reasons

given in Movants’ memorandum and reply in Bostelmann, see Docs. 42, 78, Movants respectfully ask

the Court to allow them to intervene as defendants in these two cases as well. Defendants do not

object. The Lewis Plaintiffs do not object. The Gear Plaintiffs state, “The RNC/RPW is already a party

to this action, given all three cases have been consolidated. However, to the extent a separate motion

to intervene in the Gear v. Knudson action is necessary, we oppose the RNC/RPW’s motion to

intervene.”



Dated: March 29, 2020                                 Respectfully submitted,

                                                       /s/ Patrick Strawbridge T
                                                      Patrick Strawbridge
                                                      CONSOVOY MCCARTHY PLLC
                                                      Ten Post Office Square
                                                      8th Floor South PMB #706
                                                      Boston, MA 02109
                                                      (617) 227-0548
                                                      patrick@consovoymccarthy.com

                                                      Jeffrey M. Harris
                                                      Cameron T. Norris
                                                      Alexa R. Baltes
                                                      CONSOVOY MCCARTHY PLLC
                                                      1600 Wilson Blvd., Ste. 700
                                                      Arlington, VA 22209




                                                  2
